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                                  EXHIBIT 1
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                           Wesco Insurance Company
                          (A Stock Insurance Company)
                             800 Superior Ave, E., 21st Floor
                                 Cleveland, Ohio 44114

                                    P: 216.328.6100
                                    F: 800.487.9654




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Read Your Policy Carefully


This policy is a legal contract between you and us. The information on this page is not the insurance contract and only
the actual policy provisions will control. The policy sets forth in detail the rights and obligations of both you and us. It is
therefore important that you read your policy carefully.

We will provide the insurance described in this policy in return for the premium and compliance with all applicable
provisions of the policy.

This policy is signed by the President and Secretary of the insurance company and, if required by State law, this policy
shall not be valid unless countersigned on the Declaration page by its authorized representative.




             President                                      Secretary




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                        Lawyers Professional Liability Policy
NOTICE: THIS LAWYERS PROFESSIONAL LIABILITY POLICY PROVIDES COVERAGE ON A CLAIMS
MADE AND REPORTED BASIS AND IS LIMITED TO ONLY THOSE CLAIMS WHICH ARE FIRST
MADE AGAINST THE INSURED AND REPORTED TO THE COMPANY DURING THE POLICY PERIOD
OR ANY APPLICABLE EXTENDED REPORTING PERIOD.

PLEASE REVIEW THIS POLICY CAREFULLY. THIS POLICY CONTAINS IMPORTANT EXCLUSIONS AND CONDITIONS.
WORDS AND PHRASES THAT APPEAR IN BOLD ARE DEFINED IN THE DEFINITIONS SECTION OF THE POLICY.

In consideration of the payment of the premium, in reliance upon the statements made to the Company in the
application and subject to the Limits of Liability and all other terms, conditions, exclusions and limitations
contained herein, the Company agrees as follows:

                                              I.   INSURING AGREEMENT

A. Coverage

   The Company will pay on behalf of the Insured sums in excess of the deductible that the Insured shall become
   legally obligated to pay as damages because of a claim that is first made against the Insured and reported to the
   Company during the policy period or any Extended Reporting Period arising out of an act or omission in the
   performance of legal services by the Insured or by any person for whom the Insured is legally liable, provided that:

   1. prior to the inception date of the policy period, the Insured did not give notice under any other insurance policy
      of such claim or related claim or such act or omission or related act or omission; and

   2. prior to the inception date of this policy, or if this policy has been continuously renewed, prior to the inception
      date of the first policy issued by the Company, no Insured knew or could reasonably have foreseen that any
      such act or omission, or related act or omission, might be expected to be the basis of a claim.

   The Company shall also pay claim expenses in connection with such claim.

B. Defense

   The Company shall have the right and duty to defend, subject to and as part of the Limits of Liability, any claim
   against the Insured seeking damages which are payable under the terms of this policy even if any of the allegations
   of the claim are groundless, false or fraudulent. The Company shall have the right to appoint counsel and to make
   such investigation and defense of a claim as it deems appropriate. If a claim shall be subject to arbitration or
   mediation, the Company shall be entitled to exercise all of the Insured’s rights in the choice of arbiters or mediators
   and in the conduct of an arbitration or mediation proceeding.

C. Settlement

   The Company shall have the right to negotiate a settlement or compromise of a claim as it deems appropriate but
   shall not commit to settlement of a claim without the written consent of the Named Insured. If the Named Insured
   refuses to consent to a settlement or compromise recommended by the Company and acceptable to the claimant,
   then the Company’s Limits of Liability under this policy shall be reduced to the amount for which the claim could
   have been compromised or settled, plus all claim expenses incurred up to the time the Company makes its
   recommendation, plus fifty percent (50%) of the claim expenses incurred subsequent to the date of such refusal,
   which amount shall not exceed the remainder of the Limits of Liability specified in Section III. A.


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    If any claim covered under this policy is resolved through the use of formal mediation within six months from the
    date it is first reported to the Company or within 90 days after suit is filed, the Deductible amount the Named
    Insured is obligated to pay will be reduced by fifty percent (50%), or by $12,500, whichever is less.

    The failure of the Named Insured to expressly consent to a settlement or compromise recommended by the
    Company shall be deemed to be refusal to consent to a settlement or compromise.

D. Exhaustion of limits

   The Company is not obligated to investigate, defend, pay or settle, or continue to investigate, defend, pay, or settle
   a claim after the applicable Limits of Liability have been exhausted by payment of damages and/or claim expenses,
   or any combination thereof, or after the Company has deposited the remaining Limits of Liability into a court of
   competent jurisdiction in satisfaction of a judgment. In such case, the Company shall have the right to withdraw
   from further investigation, defense, payment or settlement of such claim by tendering control of said investigation,
   defense or settlement of the claim to the Insured. The Company will initiate and cooperate in the transfer of control
   to the Named Insured of any claims which were reported to the Company prior to the exhaustion of such limit and
   the Named Insured must cooperate in the transfer of control of such claims. The Company agrees to take the
   necessary steps, as it deems appropriate, to avoid a default in such claims until the transfer has been completed,
   provided the Named Insured is cooperating in such transfer. The Named Insured must reimburse the Company for
   expenses it incurs in taking those steps it deems appropriate to avoid a default during the transfer of control.

                                                   II.    DEFINITIONS

Wherever used in this policy:

A. “Bodily injury” means injury to the body, sickness or disease sustained by any person, including death resulting from
   such injuries; or mental injury, mental anguish, mental tension, emotional distress, pain or suffering or shock
   sustained by any person whether or not resulting from injury to the body, sickness, disease or death of any person.

B. “Claim” means a written or verbal demand received by the Insured for money or services arising out of an act or
   omission, including personal injury, in rendering or failing to render legal services. A demand shall include the
   service of suit or the institution of an arbitration proceeding against the Insured.

C. “Claim expenses” mean:

    1. fees charged in connection with a claim by attorneys designated by the Company or by the Insured with the
       written consent of the Company; and

    2. all other reasonable and necessary fees, costs and expenses resulting from the investigation, adjustment,
       defense and appeal of a claim if incurred by the Company, or by the Insured with the written consent of the
       Company, including, but not limited to, premiums for any appeal bond, attachment bond or similar bond but
       without any obligation of the Company to apply for or furnish any such bond.

    Claim expenses shall not include fees, costs or expenses of employees or officers of the Company. Nor shall claim
    expenses include salaries, loss of earnings or other remuneration by or to any Insured.

D. “Client network damage claim” means a demand, including the service of suit or the institution of any alternative
   dispute resolution proceeding, received by the Insured for money or services alleging that a security breach or
   electronic infection caused network damage to a client’s network in the rendering of legal services.

E. “Company” means the insurance Company named in the Declarations.


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F. “Computer virus” means unauthorized computer code that is designed and intended to transmit, infect and
   propagate itself over one or more networks, and cause:
   1. a computer code or programs to perform in an unintended manner;
   2. the deletion or corruption of electronic data or software; or
   3. the disruption or suspension of a network.

G. “Confidential Commercial Information” means information that has been provided to the Insured by another, or
   created by the Insured for another where such information is subject to the terms of a confidentiality agreement or
   equivalent obligating the Insured to protect such information on behalf of another.

H. “Damages” means judgments, awards and settlements if negotiated with the assistance and approval of the
   Company. Damages do not include:

     1. Legal fees, costs and expenses paid to or incurred or charged by the Insured, whether or not claimed as
        restitution of specific funds, forfeiture, financial loss, set-off or otherwise, and injuries that are a consequence of
        any of the foregoing;

     2. Any conversion, misappropriation, improper comingling or negligent supervision by any person of client or trust
        account funds or property, or funds or property of any other person held or controlled by an Insured in any
        capacity or under any authority, including any loss or reduction in value of such funds or property;

     3. civil or criminal fines, sanctions, penalties or forfeitures, whether pursuant to federal, state or local law, statute,
        regulation or court rule and injuries that are a consequence of any of the foregoing;

     4. punitive or exemplary amounts and the multiplied portion of multiplied awards;

     5. any form of non-monetary relief;

     6. amounts for which the Insured is not financially liable or that are without legal recourse to the Insured.

I.   “Denial of service attack” means an attack executed over one or more networks or the Internet that is specifically
     designed and intended to disrupt the operation of a network and render a network inaccessible to authorized users.

J.   “Disciplinary proceeding” means any proceeding before a state or federal licensing board or a peer review
     committee to investigate charges alleging professional misconduct.

K. “Electronic infection” means the transmission of a computer virus to a network, including without limitation, such
   transmission to or from the Named Insured’s network.

L. “Electronic information damage” means the destruction, deletion or alteration of any information residing on the
   network of any third party.

M. “Insured” means the Named Insured, predecessor firm and the persons or entities described below:

     1. Any lawyer, partnership, professional corporation, professional association, limited liability corporation or
        limited liability partnership who is or becomes a partner, officer, director, stockholder-employee, associate,
        manager, member or salaried employee of the Named Insured during the policy period shown in the
        Declarations;

     2. Any lawyer previously affiliated with the Named Insured or a predecessor firm as a partner, officer, director,
        stockholder-employee, associate, manager, member or salaried employee but only for legal services performed
        on behalf of the Named Insured or a predecessor firm at the time of such affiliation;


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    3. Any lawyer, law firm, partnership, professional corporation, professional association, limited liability corporation
       or limited liability partnership who acts as Of Counsel to the Named Insured or any non-employee independent
       contractor attorney or per diem attorney to the Named Insured but only for legal services performed on behalf
       of the Named Insured;

    4. Any former or current employee who is a non-lawyer of the Named Insured or any predecessor firm, but solely
       for services performed within the course and scope of their employment by the Named Insured or any
       predecessor firm;

    5. The estate, heirs, executors, administrators, assigns and legal representatives of an Insured in the event of such
       Insured’s death, incapacity, insolvency or bankruptcy, but only to the extent that such Insured would have been
       provided coverage under this policy.

N. “Internet” means the worldwide public network of computers as it currently exists or may be manifested in the
   future, but Internet does not include the Named Insured’s network.

O. “Legal services” mean:

   1. those services performed by an Insured for others as a lawyer, arbiter, mediator, expert witness, title agent, a
      notary public, governmental affairs advisor or lobbyist, or member of a bar association, ethics, peer review or
      similar professional board or committee but only if such services are performed for a fee that inures to the
      benefit of the Named Insured except that no fee need inure to the Named Insured where eleemosynary (pro
      bono) services are performed and approved by the Named Insured. Any title agency or company, on whose
      behalf the Insured acts as title agent or designated issuing attorney, is not an Insured under this policy;

   2. those services performed by an Insured as an administrator, conservator, receiver, executor, guardian, trustee
      or in a fiduciary capacity excluding acts of a “fiduciary” as defined under the Employee Retirement Income
      Security Act of 1974 and its amendments or any regulation or order issued pursuant thereto or any other similar
      state or local law. Services performed by an Insured as an administrator, executor or trustee must be services
      ordinarily rendered by a lawyer and with the approval of the Named Insured at the time of retention;

   3. those services as an author or publisher of legal research papers or legal materials or the presenter of legal
      seminars or materials, but only where such services are performed without compensation or compensation
      attributable per publication, presentation or seminar is less than $25,000.

P. “Named Insured” means the persons and entities designated in the Declarations.

Q. “Network” means a party’s local or wide area network owned or operated by or on behalf of or for the benefit of
   that party; provided, however, network shall not include the Internet, telephone company networks, or other
   public infrastructure networks.

R. “Network Damage” means:

    1. the unscheduled and unplanned inability of an authorized user to gain access to a network;

    2. electronic information damage; or

    3. the suspension or interruption of any network;

S. “Non-public personal information” means personal information not available to the general public from which an
   individual may be identified, including without limitation, an individual's name, address, telephone number, social
   security number, account relationships, account numbers, account balances, and account histories.



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T. “Personal Injury” means libel, slander, or other defamatory or disparaging material or publication; utterance in
   violation of an individual’s right of privacy; false arrest, humiliation, detention, or imprisonment; wrongful entry,
   eviction, or other invasion of the right of private occupancy; or malicious prosecution or abuse of process.

U. “Policy period” means the period of time between the inception date and time shown in the Declarations and the
   date and time of termination, expiration or cancellation of this policy.

V. “Predecessor firm” means any entity which has undergone dissolution and the financial assets and liabilities of
   which the Named Insured is the majority successor in interest.

W. “Privacy breach notice law” means any statute or regulation that requires an entity who is the custodian of
   nonpublic personal information to provide notice to individuals of any actual or potential privacy breach with
   respect to such non-public personal information. Privacy breach notice laws include Sections 1798.29 and 1798.82-
   1798.84 of the California Civil Code (formerly S.B. 1386) and other similar laws in any jurisdiction.

X. “Privacy claim” means a demand, including the service of suit or the institution of any alternative dispute resolution
   proceeding, received by the Insured for money or services and alleging privacy injury and identity theft that
   occurred in the rendering of legal services.

Y. “Privacy injury and identity theft” means:

    1. any unauthorized disclosure of, inability to access, or inaccuracy with respect to, non-public personal
       information in violation of:

        a. the Named Insured’s privacy policy; or

        b. any federal, state, foreign or other law, statute or regulation governing the confidentiality, integrity or
           accessibility of non-public personal information, including but not limited, to the Health Insurance
           Portability and Accountability Act of 1996, Gramm-Leach-Bliley Act, Children's Online Privacy Protection Act,
           or the EU Data Protection Act.

    2. the Insured’s failure to prevent unauthorized access to confidential commercial information;

Z. “Privacy policy” means the Named Insured’s policies in written or electronic form that:

    1. govern the collection, dissemination, confidentiality, integrity, accuracy or availability of non-public personal
       information; and

    2. the Insured provides to its clients, customers, employees or others who provide the Insured with nonpublic
       personal information.

AA. “Related act or omission” means all acts or omissions in the rendering of legal services that are temporally, logically
    or causally connected by any common fact, circumstance, situation, transaction, event, advice or decision.

BB. “Related claim” means all claims arising out of a single act or omission or arising out of related acts or omissions in
    the rendering of legal services.

CC. “Security breach” means the failure of the Named Insured’s network hardware, software, firmware, the function or
    purpose of which is to:

    1. identify and authenticate parties prior to accessing the Named Insured’s network;

    2. control access to the Named Insured’s network and monitor and audit such access;

    3. protect against computer viruses;

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    4. defend against denial of service attacks upon the Insured or unauthorized use of the Insured’s network to
       perpetrate a denial of service attack; or,

    5. ensure confidentiality, integrity and authenticity of information on the Insured’s network.

DD. “Totally and permanently disabled” means that an Insured is so disabled as to be wholly prevented from rendering
    legal services provided that such disability:

    1. has existed continuously for not less than six (6) months; and
    2. is reasonably expected to be continuous and permanent.

EE. “Unauthorized access” means any accessing of information in the Insured’s care, custody or control by
    unauthorized persons or by authorized persons accessing or using such information in an unauthorized manner.
    Unauthorized access also includes:

    1. theft from the Insured of any information storage device used by the Insured to:

        a. store and retrieve information on the Insured’s network; or

        b. transport information between the Insured and authorized recipients;

    2. any unauthorized use by the Insured of information in the Insured’s clients’ care, custody or control if accessed
       by the Insured in the course of rendering legal services.


                                        III.   LIMITS OF LIABILITY AND DEDUCTIBLE

A. Limits of Liability - Each Claim

    Subject to paragraph B. below, the Limits of Liability of the Company for each claim shall not exceed the amount
    stated in the Declarations for each claim.

B. Limits of Liability - In the Aggregate

    The Limits of Liability of the Company for all claims shall not exceed the amount stated in the Declarations as the
    aggregate.

C. Deductible

    The deductible amount stated in the Declarations is the total amount of the Insured’s liability for each and every
    claim and applies to the payment of damages and claim expenses. The deductible shall be paid by the Named
    Insured or, upon the Named Insured’s failure to pay, jointly and severally by all Insureds. The Limits of Liability set
    forth in the Declarations are in addition to and in excess of the deductible.

D. Multiple Insureds, Claims and Claimants

    The Limits of Liability shown in the Declarations are subject to the provisions of this policy and are the amount the
    Company will pay regardless of the number of Insureds, claims or persons or entities making claims. If related
    claims are subsequently made against the Insured and reported to the Company during the policy period or any
    subsequent renewal or Extended Reporting Period, all such related claims, whenever made, shall be considered a
    single claim first made and reported to the Company during the policy period in which the earliest of the related
    claims was first made and reported to the Company. The Limits of Liability for any such related claims shall be part
    of, and not in addition to, any remaining Limits of Liability as stated in the Declarations of the policy.

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E. Disciplinary Proceedings

   The Company will provide for the defense of a disciplinary proceeding brought against an Insured during the policy
   period arising out of the performance of legal services, provided that prior to the inception date of the policy
   period, or if this policy has been continuously renewed, prior to the inception date of the first policy issued by the
   Company, no Insured received notice, or knew about any bar complaint, grievance or investigation that might be
   expected to be the basis of a disciplinary proceeding. The Company’s obligation under this provision is subject to a
   maximum amount of $25,000 per disciplinary proceeding and $50,000 in the aggregate per policy period for all
   attorney fees and other reasonable costs, expenses or fees incurred by lawyers appointed by the Company. There
   will be no deductible for payments made under this provision and any such payments are in addition to the Limits of
   Liability.

F. Loss of Earnings

   The Company will reimburse the Insured for actual loss of earnings and reasonable expenses incurred at the
   Company’s request for attendance at a trial or court-ordered hearing, arbitration or mediation as follows:

   1. $500 per day for each Insured up to a maximum of $10,000 per claim, regardless of the number of Insureds or
      days in attendance, or the number of trials.

   2. $50,000 in the aggregate during the policy period for all claims and Insureds.

   There will be no deductible for payments made under this provision and any such payments are in addition to the
   Limits of Liability.

G. Subpoena Assistance

   In the event the Insured receives a subpoena for documents or testimony during the policy period arising out of
   legal services rendered and the Insured requests the Company’s assistance in responding to the subpoena, the
   Insured must provide the Company with a copy of the subpoena and the Company will appoint an attorney to
   provide advice regarding the production of documents, to prepare the Insured for sworn testimony, and to
   represent the Insured at the deposition(s), provided that:

   1. the subpoena arises out of a lawsuit to which the Insured is not a party; and

   2. the Insured has not been engaged to provide advice or testimony in connection with the lawsuit, nor has the
      Insured provided such advice or testimony in the past.

   The Company’s obligation under this provision is subject to a maximum amount of $25,000 per policy period for all
   attorney’s fees and other reasonable costs, expenses, or fees incurred by lawyers appointed by the Company,
   regardless of the number of Insureds involved or the number of subpoenas received. There will be no deductible for
   payments made under this provision and any such payments are in addition to the Limits of Liability.

H. Privacy Breach Investigation

   If, during the policy period, a state licensing board, self regulatory body, public oversight board or a governmental
   agency with the authority to regulate the Insured’s legal services or any entity acting on behalf of such entities
   initiates an investigation of the Insured arising from an actual or alleged violation of a privacy breach notice law or
   any law referenced under the definition of privacy injury and identity theft that occurred in the rendering of legal
   services and which the Insured reports to the Company in accordance with Section V.A. of this policy, the Company
   agrees to pay attorney fees, attorney costs and court costs (excluding such attorney fees and costs incurred as a

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      result of services performed by the Insured) incurred in responding to the investigation. The maximum amount the
      Company will pay for such attorney fees and costs is $20,000 regardless of the number of investigations or the
      number of Insureds who are subject to such investigations. There will be no deductible for payments made under
      this provision and any such payments are in addition to the Limits of Liability.

I.    Network and Privacy Breach

      The Company will provide for the defense of privacy claims and client network damage claims brought against an
      Insured during the policy period arising out of the performance of legal services. The Company’s obligation under
      this provision is subject to a maximum amount of $25,000 per policy period for all attorney fees and other
      reasonable costs, expenses or fees incurred by lawyers appointed by the Company. There will be no deductible for
      payments made under this provision and any such payments are in addition to the Limits of Liability.

                                                     IV.     EXCLUSIONS

This policy does not apply:

A. to any claim based on or arising out of any dishonest, fraudulent, criminal or malicious act or omission by an
   Insured, however, the Company shall provide the Insured with a defense of any claim based on or arising out of any
   dishonest, fraudulent or malicious act or omission by an Insured until the dishonest, fraudulent or malicious act or
   omission has been determined by adjudication, including regulatory ruling against or admission by such Insured; but
   providing such a defense will not waive any of the Company’s rights under this policy;

B. to any claim against an Insured as a beneficiary or distributee of any trust or estate;

C. to any claim by or on behalf of an Insured under this policy against any other Insured hereunder unless an
   attorney/client relationship exists;

D. to any claim based on or arising out of an Insured’s capacity as:

      1. a former, existing or prospective officer, director, shareholder, partner or manager of a business enterprise or
         charitable organization unless such enterprise or organization is named in the Declarations; or

      2. a former, existing or prospective officer, director, shareholder, partner, manager, or trustee of a fund or trust
         which is a pension, welfare, profit-sharing, mutual or investment fund or trust; or

      3. a fiduciary under the Employee Retirement Income Security Act of 1974 and its amendments or any regulation
         or order issued pursuant thereto or any other similar state or local law;

E. to any claim based on or arising out of an Insured’s capacity as a public official or an employee or representative of
   a governmental body, subdivision or agency unless the Insured is deemed as a matter of law to be a public official or
   employee or representative of such entity solely by virtue of rendering legal services to such governmental body,
   subdivision or agency;

F. to any claim based on or arising out of legal services performed for any existing or prospective partnership,
   organization, corporation, company or other business enterprise, including any claim made by or on behalf of such
   partnership, organization, corporation, company or other business enterprise, if at the time of the act or omission
   giving rise to such claim:

      1. any Insured controlled, operated or managed or intended to control, operate or manage such enterprise; or

      2. any Insured:



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        a. was a partner or employee of such enterprise; or

        b. directly or indirectly owned more than 10% of such enterprise; or

    3. Insureds cumulatively owned more than 35% of such enterprise.

   As used in this exclusion, the word “partner” shall be deemed to include members of limited liability companies or
   limited liability partnerships.

G. to any claim for bodily injury, or injury to, or destruction of, any tangible property, including loss of use resulting
   therefrom except that this exclusion of bodily injury does not apply to mental injury, mental anguish, mental stress,
   humiliation or emotional distress caused by personal injury.

                                                    V.    CONDITIONS

A. Notice of Claims and Potential Claims

    1. The Insured, as a condition precedent to the obligations of the Company under this policy, shall give written
       notice to the Company during the policy period:

        a. of any claim made against the Insured during the policy period;

        b. of the Insured’s receipt of any notice, advice or threat, whether written or verbal, that any person or
           organization intends to make a claim against the Insured;

        c. Any act or omission that may reasonably be expected to be the basis of a claim against the Insured.

    2. If during the policy period the Insured shall become aware of any act or omission that might reasonably be
       expected to be the basis of a claim against the Insured and gives written notice to the Company during the
       policy period of such act or omission and the reasons for anticipating a claim, with full particulars, including but
       not limited to:

        a. the specific act or omission;

        b. the date(s) and person(s) involved;

        c. the identity of anticipated or possible claimants;

        d. the circumstances by which the Insured first became aware of the possible claim;

        then any such claim that is subsequently made against the Insured arising out of such act or omission and
        reported to the Company shall be deemed to have been made at the time such written notice was received by
        the Company.

    3. Any notice required to be given to the Company in this section will be provided in writing to:

        c/o AmTrust North America
        135 South LaSalle Street, Suite 1925
        Chicago IL 60603
        Attn: AUI Claim Department
        Anaclaimsreporting@amtrustgroup.com
        Fax: (877) 207-3961

B. Innocent Insured

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   Whenever coverage under this policy would be excluded, suspended or lost because of the exclusion relating to
   dishonest, fraudulent, criminal or malicious act or omission by any person insured hereunder, the Company agrees
   that such insurance, as would otherwise be afforded under this policy, shall be applicable with respect to an Insured
   who did not personally participate in such act or omission and otherwise complies with all terms and conditions of
   the policy.

   The Company’s obligation to pay damages hereunder will be excess of the full extent of the assets of any Insured
   involved in such dishonest, fraudulent, criminal or malicious act or omission.

C. Territory

   This policy applies to an act or omission taking place anywhere in the world, provided that the claim is made and
   suit is brought against the Insured within the United States of America, including its territories, possessions, Puerto
   Rico or Canada. The Company may elect at any time but shall not be obligated to investigate, settle or defend such
   claims or suits that are brought anywhere other than the United States of America, its territories, possessions,
   Puerto Rico, or Canada.

D. Alternative Dispute Resolution

   In the event a claim made against an Insured can, by agreement between the Company and the claimant, be
   contested by arbitration or mediation, then the Company will have the right to have the claim so contested. The
   Company will give the Insured written notice of the intention to refer such claim to arbitration or mediation, and
   the Company will be entitled to exercise any rights of the Insured with respect to arbitration or mediation including,
   without limitation, choice of arbiter(s) or mediator(s) and choice of venue.

E. Other Insurance

   If there is other insurance that applies to the claim, this insurance shall be excess over such other valid and
   collectible insurance whether such insurance is stated to be primary, contributory, excess, contingent or otherwise.
   This does not apply to insurance that is purchased by the Named Insured specifically to apply in excess of this policy.

F. Assistance and Cooperation of the Insured

   1. The Insured shall cooperate with the Company and, upon the Company’s request, shall attend hearings and
      trials and shall assist in effecting settlements, the securing and giving of evidence, obtaining the attendance of
      witnesses, and the conduct of suits and proceedings in connection with a claim;

   2. The Insured shall assist in the enforcement of any right of contribution or indemnity against any person who or
      organization which may be liable to any Insured in connection with a claim;

   3. The Insured shall not, except at its own cost, voluntarily make any payment, assume or admit any liability or
      incur any expense without the consent of the Company.

G. Action Against the Company

   No action shall lie against the Company unless, as a condition precedent thereto, there has been full compliance
   with all the terms of this policy, nor until the amount of the Company’s obligation to pay shall have been fully and
   finally determined.

   In the event any person or entity has secured a judgment covered under this policy and the Company does not pay
   the judgment within thirty (30) days from the service of notice of the judgment upon the Insured or its attorney and
   the Company, then an action may be brought against the Company for the amount of the judgment not exceeding


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      the amount of the applicable Limits of Liability under this policy, except during a stay or limited stay of execution
      against the Company on such judgment.

      No person or organization shall have any right under this policy to join the Company as a party to any action against
      an Insured, nor shall the Company be impleaded by the Insured or its legal representative. Bankruptcy or insolvency
      of the Insured or of the Insured’s estate shall not relieve the Company of any of it obligations hereunder.

H. Subrogation

      In the event of any payment under this policy, the Company shall be subrogated to all the Insured’s rights of
      recovery thereof against any person or organization, including any rights such Insured may have against any other
      Insured involved in dishonest, fraudulent, criminal, malicious or intentional act or omission. The Insured shall
      execute and deliver instruments and papers and do whatever else is necessary to secure and collect upon such
      rights and the Insured shall do nothing to prejudice such rights.

I.    Changes

      None of the provisions of this policy will be waived, changed or modified except by written endorsement, which is
      signed by the Company, and then issued to form a part of this policy.

J.    Assignment

      No assignment of interest of the Insured under this policy shall be valid, unless the written consent of the Company
      is endorsed hereon.

K. Cancellation

      This policy may be canceled by the Named Insured by surrender thereof to the Company or any of its authorized
      representatives or by mailing to the Company written notice stating when thereafter the cancellation shall be
      effective.

      This policy may be canceled by the Company by mailing to the Named Insured at the address stated in the
      Declarations written notice stating when, not less than sixty (60) days thereafter or ten (10) days in the case of
      nonpayment of premium, such cancellation shall be effective.

      The mailing of notice shall be sufficient proof of notice and the time of the surrender or the effective date and hour
      of cancellation stated in the notice shall become the end of the policy period. Delivery of such written notice either
      by the Named Insured or by the Company shall be equivalent to such mailing.

      If either the Named Insured or the Company cancels, earned premium shall be the pro rated amount of the annual
      premium. Premium adjustment may be made at the time cancellation is effected or as soon as practicable after
      cancellation becomes effective. The Company’s check or the check of its representative mailed as aforesaid shall be
      sufficient tender of any refund or premium due to the Named Insured provided that if, at the time of cancellation,
      the applicable Limits of Liability for the policy period have been exhausted, the entire premium shall be considered
      earned.

L. Nonrenewal

      The Company may nonrenew this policy by mailing or delivering to the Named Insured at the address stated in the
      Declarations written notice at least sixty (60) days before the expiration date of this policy. The offer of renewal
      policy terms, conditions, or premium amount different than those in effect prior to renewal does not constitute
      nonrenewal.

M. Entire Contract

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      By acceptance of this policy the Insured agrees that:

      1. the information and statements provided to the Company by the Insured are true, accurate and complete and
         shall be deemed to constitute material representations made by all of the Insureds;

      2. this policy is issued in reliance upon the Insured’s representations;

      3. this policy, endorsements thereto, together with the completed and signed application and any and all
         supplementary information and statements provided by the Insured to the Company (all of which are deemed
         to be incorporated herein) embody all of the agreements existing between the Insured and the Company and
         shall constitute the entire contract between the Insured and the Company ; and

      4. the misrepresentation of any material matter by the Insured or the Insured’s authorized agent/broker, which if
         known by the Company would have led to the refusal by the Company to make this contract or provide coverage
         for a claim hereunder, will render this policy null and void and relieve the Company from all liability herein.

N. Named Insured Sole Agent

      The Named Insured shall be the sole agent of all Insureds hereunder for the purpose of effecting or accepting any
      notices hereunder, any amendments to or cancellation of this policy, for the completing of any applications and the
      making of any statements, representations and warranties, for the payment of any premium and the receipt of any
      return premium that may become due under this policy, and the exercising or declining to exercise any right under
      this policy.

O. Liberalization

      If the Company adopts any revision that would broaden coverage under this policy without additional premium at
      any time during the policy period, the broadened coverage will immediately apply to this policy except that it will
      not apply to claims that were first made against the Insured prior to the effective date of such revision.

P.    Notices

      Any notices (other than notice of claims or potential claims) required to be given by an Insured shall be submitted in
      writing to the Company at the address below. If mailed, the date of mailing of such notice shall be deemed to be
      the date such notice was given and proof of mailing shall be sufficient proof of notice.

      800 Superior Avenue E., 21st Floor
      Cleveland, OH 44114

                                           VI.    EXTENDED REPORTING PERIODS

As used herein, “Extended Reporting Period” means the period of time after the end of the policy period for reporting
claims first made and reported during the Extended Reporting Period by reason of an act or omission that occurred prior
to the end of the policy period and is otherwise covered by this policy. The Limits of Liability for any Extended Reporting
Period shall be part of, and not in addition to any remaining Limits of Liability as stated in the Declarations of this policy.

A. Automatic Extended Reporting Period:

      In the event of cancellation or non-renewal of this policy by either the Named Insured or the Company, an
      automatic thirty (30) day Extended Reporting Period will be provided to the Named Insured at no additional cost if
      the Named Insured has not obtained another lawyers professional liability policy within thirty (30) days of the
      cancellation or termination of this policy.


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B. Optional Extended Reporting Period:

    In the event of cancellation or non-renewal of this policy by either the Named Insured or the Company, then the
    Named Insured upon payment of an additional premium as set forth below shall have the right to an Extended
    Reporting Period for the specific period of time set forth in an endorsement to be issued by the Company. This right
    shall terminate, however, unless written notice of this election together with the additional premium is received by
    the Company or its authorized agent/broker from the Named Insured within thirty (30) days after the effective date
    of cancellation or non-renewal. The Optional Extended Reporting Period shall commence at the effective date of the
    cancellation or non-renewal.

    1. Only one such Extended Reporting Period coverage endorsement shall be issued and the Extended Reporting
       Period for such coverage shall be one year, three years, six years or unlimited. This period includes the automatic
       thirty (30) day period specified in Item A. above.

    2. The additional premium for the Optional Extended Reporting Period shall be based upon the annualized rates for
       such coverage in effect on the date this policy expires and shall be for one year at 100% of such premium, three
       years at 150% of such premium, six years at 200% of such premium, or for an unlimited period at 225% of such
       premium.

C. Non-Practicing Extended Reporting Period:

   If an Insured dies or becomes totally and permanently disabled during the policy period, then upon the latter of the
   expiration of: the policy period; any renewal or successive renewal of this policy; or any Automatic or Optional
   Extended Reporting Period, the Insured shall be provided with a Non-Practicing Extended Reporting Period as
   provided below:

    1. In the event of death, the estate, heirs, executors or administrators of such Insured must provide the Company
       with written proof of the date of death. This Non-practicing Extended Reporting Period is provided to the estate,
       heirs, executors and administrators of such Insured until the executor or administrator of the estate of such
       Insured is discharged.

    2. If an Insured becomes totally and permanently disabled, such Insured or such Insured’s legal guardian must
       provide the Company with written proof that such Insured is totally and permanently disabled, including the
       date the disability commenced and certified by the Insured’s physician. The Company retains the right to contest
       the certification made by the Insured’s physician and it is a condition precedent to this coverage that such
       Insured agree to submit to a medical examination by any physician designated by the Company.

       This Non-Practicing Extended Reporting Period is provided until such Insured shall no longer be totally and
       permanently disabled or until such Insured’s death in which case subparagraph 1. hereof shall apply.

   No additional premium will be charged for any Non-Practicing Extended Reporting Period.

D. Retirement Extended Reporting Period:

    If an Insured, except those attorneys under Definitions M.3, retires or otherwise voluntarily ceases, permanently
    and totally, the private practice of law during the policy period and has been continuously insured by the Company
    for at least three consecutive years, then such Insured shall be provided with a Retirement Extended Reporting
    Period commencing upon the latter of the expiration of: the policy period; any renewal or successive renewal of this
    policy; or any Automatic or Optional Extended Reporting Period.

    This Retirement Extended Reporting Period is provided until such Insured’s death in which case subparagraph C.1.
    above shall apply or until such Insured shall resume the practice of law.



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   No additional premium will be charged for any Retirement Extended Reporting Period.

E. Elimination of Right to Any Extended Reporting Periods

   There is no right to Extended Reporting Periods if the Company shall cancel or refuse to renew this policy due to:

   1. non-payment of any amount due under this policy; or

   2. non-compliance by an Insured with any of the terms and conditions of this policy; or

   3. any misrepresentation or omission in the application for this policy, or if at the time this right could be exercised
      by an Insured, such Insured’s license to act as a legal professional has been revoked, suspended or surrendered
      at the request of any regulatory authority.




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                                             SCHEDULE OF FORMS

  NAMED INSURED                DC Capital Law

  Effective 12:01 A.M.         12/21/2017                             forms a part of Policy No. WPP1496601-00




 FORMS LISTED BELOW ARE INCLUDED IN THIS POLICY

 Declarations                                                              WIC-LPL-DEC          05/01/2015
 Lawyers Professional Liability Policy                                     LPL-POL-01           10/01/2015
 Schedule of Forms                                                         WIC-LPL-SCHED        12/01/2013
 Supplementary Payments                                                    LPL990075            05/01/2016
 Retroactive Date Limitation Endorsement                                   LPL990020            05/01/2015
 Retroactive Date Limitation Endorsement - Individual                      LPL990021            11/01/2014
 Privacy Breach Investigation and Network and Privacy Breac                LPL990072            04/01/2016
 Disciplinary Proceedings Endorsement                                      LPL990071            04/01/2016
 Amended Definition of Damages                                             LPL990076            04/01/2016
 Amended Settlement                                                        LPL990074            04/01/2016
 Crisis Management                                                         LPL990073            07/01/2016
 DC Amendatory Endorsement                                                 LPL990032DC          04/01/2012




WIC-LPL-SCHED                                           Page 1 of 1                                          Ed 1213
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                       RETROACTIVE DATE LIMITATION ENDORSEMENT


  NAMED INSURED                DC Capital Law

  This endorsement, effective 12:01 A.M.      12/21/2017                   forms a part of Policy No.   WPP1496601-00

  Issued by Wesco Insurance Company.




 It is agreed that this Policy shall not apply to claims arising out of acts or omissions or related acts or omissions in the
 rendering of or the failure to render legal services by any Insured that occurred prior to the following Retroactive Date:
 12/21/2017




LPL990020                                               Page 1 of 1                                                 Ed 0515
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            RETROACTIVE DATE LIMITATION ENDORSEMENT – INDIVIDUAL



  NAMED INSURED                DC Capital Law

  This endorsement, effective 12:01 A.M.    12/21/2017                    forms a part of Policy No.   WPP1496601-00




      It is agreed that this policy shall not apply to claims arising from acts or omissions or related acts or omissions
      in the rendering of or failure to render legal services that occurred prior to the Retroactive Date for the Insured(s)
      listed below.

                      Insured                                            Retroactive Date
              Robert Baldwin                                     12/21/2017
              Nadine Chabrier                                    12/21/2017
              Lawen Sharon                                       12/21/2017
              Robert Heieck                                      12/21/2017




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                                                                                                LPL990032DC 0412

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY


          DISTRICT OF COLUMBIA AMENDATORY ENDORSEMENT
 This endorsement modifies insurance provided under the following:

 LAWYERS PROFESSIONAL LIABILITY POLICY
 With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
 modified by the endorsement.

I.   SECTION V. CONDITIONS, paragraph K. Cancellation is deleted in its entirety and replaced by the following:

     K.    CANCELLATION AND NONRENEWAL

           1. CANCELLATION

             a. This policy may be canceled by the Named Insured by surrender of the policy to the Company or
                by mailing written notice to the Company stating when such cancellation shall take effect. If
                canceled by the Named Insured, the Company shall retain the customary short-rate proportion of
                the premium. In no event may the requested date of cancellation be greater than ten (10) days
                prior to the date the request is received by the Company.
             b. The Company may cancel this policy by mailing or delivering to the Named Insured written
                notice of cancellation at least thirty (30) days before the effective date of cancellation. At least five
                (5) days before sending notice to the Named Insured the Company will notify the agent or
                broker, if any, who wrote the policy.
             c. If this policy has been in effect for thirty (30) days or fewer and is not a renewal policy the
                Company issued, the Company may cancel this policy for any reason.
             d. If this policy has been in effect for greater than thirty (30) days, or if this policy is a renewal of a
                policy the Company issued, the Company may cancel this policy for one or more of the following
                reasons:
                (1) The Insured has refused or failed to pay a premium due under the terms of the policy;
                (2) The Insured has made a material and willful misstatement or omission of fact to the
                     Company or its employees, agent or brokers in connection with any application to or Claim
                     against the Company;
                (3) The property or other interest of the Insured shall have been transferred to a person other
                     than the Insured or beneficiary, unless the transfer is permitted under the terms of the policy;
                     or
                (4) Unless property, interest or use of the property or interest has materially changed with respect
                     to its insurability.
             e. If the policy is canceled by the Company, the earned premium shall be computed pro-rata.
                Premium adjustments may be made at the time cancellation is effected or as soon as practicable
                thereafter. Failure to pay any premium adjustment at, on, or around the time of the effective date
                of cancellation shall not alter the effectiveness of cancellation.

           2. NONRENEWAL

             The Company may elect not to renew this policy by mailing or delivering written notice of nonrenewal
             to the Named Insured at the last mailing address known to the Company. The Company will mail or
             deliver the notice at least thirty (30) days before the expiration of the policy. At least five (5) days
             before sending notice to the Named Insured, the Company will notify the agent or broker, if any, who
             wrote the policy. If notice is mailed, proof of mailing will be sufficient proof of notice. Delivery of the
             notice will be the same as mailing.


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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        DISCIPLINARY PROCEEDINGS ENDORSEMENT

   NAMED INSURED              DC Capital Law

   This endorsement, effective 12:01 A.M.    12/21/2017                    forms a part of Policy No.   WPP1496601-00

   Issued by Wesco Insurance Company.



This endorsement modifies coverage provided under the following:

       LAWYERS PROFESSIONAL LIABILITY POLICY


Section III. LIMITS OF LIABILITY AND DEDUCTIBLE, E. Disciplinary Proceedings, is deleted in its entirety and replaced
by the following:

       E. Disciplinary Proceedings:
          The Company will provide for the defense of a disciplinary proceeding brought against an Insured during
          the policy period arising out of the performance of legal services, provided that prior to the inception date of
          the policy period, or if this policy has been continuously renewed, prior to the inception date of the first policy
          issued by the Company, no Insured received notice, or knew about any bar complaint, grievance or
          investigation that might be expected to be the basis of a disciplinary proceeding. The Company’s obligation
          under this provision is subject to a maximum amount of $50,000 per disciplinary proceeding and $100,000 in
          the aggregate per policy period for all attorney fees and other reasonable costs, expenses or fees incurred by
          lawyers appointed by the Company. There will be no deductible for payments made under this provision and
          any such payments are in addition to the Limits of Liability.




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                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                PRIVACY BREACH INVESTIGATION AND
                                  NETWORK AND PRIVACY BREACH

     NAMED INSURED               DC Capital Law

     This endorsement, effective 12:01 A.M.     12/21/2017                    forms a part of Policy No.    WPP1496601-00

     Issued by Wesco Insurance Company.



This endorsement modifies coverage provided under the following:

         LAWYERS PROFESSIONAL LIABILITY POLICY


1.       Section III. LIMITS OF LIABILITY AND DEDUCTIBLE, H. Privacy Breach Investigation, is deleted in its entirety
         and replaced by the following:

         H. Privacy Breach Investigation
              If, during the policy period, a state licensing board, self-regulatory body, public oversight board or a
              governmental agency with the authority to regulate the Insured’s legal services or any entity acting on
              behalf of such entities initiates an investigation of the Insured arising from an actual or alleged violation of a
              privacy breach notice law or any law referenced under the definition of privacy injury and identity theft
              that occurred in the rendering of legal services and which the Insured reports to the Company in
              accordance with Section V.A. of this policy, the Company agrees to pay attorney fees, attorney costs and
              court costs (excluding such attorney fees and costs incurred as a result of legal services performed by the
              Insured) incurred in responding to the investigation. The maximum amount the Company will pay for such
              attorney fees and costs is $50,000 regardless of the number of investigations or the number of Insureds who
              are subject to such investigations. There will be no deductible for payments made under this provision and
              any such payments are in addition to the Limits of Liability.

2.       Section III. LIMITS OF LIABILITY AND DEDUCTIBLE, Part I. Network and Privacy Breach is deleted in its
         entirety and replaced by the following:

         I.   Network and Privacy Breach
              The Company will provide for the defense of privacy claims and client network damage claims brought
              against an Insured during the policy period arising out of the performance of legal services. The
              Company’s obligation under this provision is subject to a maximum amount of $50,000 per claim and
              $100,000 aggregate per policy period for all attorney fees and other reasonable costs, expenses or fees
              incurred by lawyers appointed by the Company. There will be no deductible for payments made under this
              provision, and any such payments are in addition to the Limits of Liability.




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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              CRISIS MANAGEMENT

  NAMED INSURED                 DC Capital Law

  This endorsement, effective 12:01 A.M.       12/21/2017                       forms a part of Policy No. WPP1496601-00

  Issued by Wesco Insurance Company.



      This endorsement modifies coverage provided under the following:

      LAWYERS PROFESSIONAL LIABILITY POLICY



      Section III. LIMITS OF LIABILITY AND DEDUCTIBLE is amended to add the following:

      Crisis Event Expense Reimbursement

      The Company will reimburse the Named Insured, upon written request made during the policy period, for
      reasonable crisis event expenses that result from a crisis event that first occurs and is reported to the
      Company in writing during the policy period. The maximum reimbursement for each crisis event will not
      exceed $25,000 and the maximum payable for all Crisis Events during the policy period shall not exceed
      $50,000. There will be no deductible for payments made under this provision and any such payments are in
      addition to the Limits of Liability.


      Section II. DEFINITIONS, is amended to add the following:


      “Crisis Event” means any:

            1. death, departure or debilitating disability or illness that results in the inability to return to work of a partner
               or owner of the Named Insured;

            2. incident of workplace violence that is reported to the appropriate authorities; or

            3. an event reported in writing that is published in a widely distributed newspaper, trade publication or
               magazine and disseminated to third persons that the Named Insured reasonably believes will have a
               material adverse effect upon the Named Insured’s reputation. This does not include any such event
               written or authored by an Insured or former Insured.



      “Crisis Event Expenses” means reasonable fees, costs, and expenses incurred by the Named Insured for
      consulting services provided by a public relations firm to the Named Insured in response to a Crisis Event.




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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        AMENDED SETTLEMENT

   NAMED INSURED              DC Capital Law

   This endorsement, effective 12:01 A.M.   12/21/2017                  forms a part of Policy No.   WPP1496601-00

   Issued by Wesco Insurance Company.



This endorsement modifies coverage provided under the following:

       LAWYERS PROFESSIONAL LIABILITY POLICY


Section I. INSURING AGREEMENT, C. Settlement, is deleted in its entirety and replaced by the following:

       C. Settlement
          The Company shall have the right to negotiate a settlement or compromise of a claim as it deems appropriate
          but shall not commit to settlement of a claim without the written consent of the Named Insured.
          If any claim covered under this policy is resolved through the use of formal mediation within six months from
          the date it is first reported to the Company or within 90 days after suit is filed, the Deductible amount the
          Named Insured is obligated to pay will be reduced by fifty percent (50%), or by $12,500, whichever is less.




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                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       SUPPLEMENTARY PAYMENTS

     NAMED INSURED              DC Capital Law

     This endorsement, effective 12:01 A.M.    12/21/2017                   forms a part of Policy No.   WPP1496601-00

     Issued by Wesco Insurance Company.



This endorsement modifies coverage provided under the following:

         LAWYERS PROFESSIONAL LIABILITY POLICY


1.       Section III. LIMITS OF LIABILITY AND DEDUCTIBLE, F. Loss of Earnings, is deleted in its entirety and replaced
         by the following:

         F. Loss of Earnings
              The Company will reimburse the Insured for actual loss of earnings and reasonable expenses incurred at
             the Company’s request for attendance at a trial or court-ordered hearing, arbitration or mediation as follows:
             1. $1,000 per day for each Insured up to a maximum of $25,000 per claim, regardless of the number of
                Insureds or days in attendance, or the number of trials.
             2. $50,000 in the aggregate during the policy period for all claims and Insureds.
              There will be no deductible for payments made under this provision and any such payments are in addition to
             the Limits of Liability.

2.       Section III. LIMITS OF LIABILITY AND DEDUCTIBLE, Part G. Subpoena Assistance, is deleted in its entirety and
         replaced by the following:

         G. Subpoena Assistance
             In the event the Insured receives a subpoena for documents or testimony during the policy period arising
             out of legal services rendered and the Insured requests the Company’s assistance in responding to the
             subpoena, the Insured must provide the Company with a copy of the subpoena and the Company will
             appoint an attorney to provide advice regarding the production of documents, to prepare the Insured for
             sworn testimony, and to represent the Insured at the deposition(s), provided that:
             1. the subpoena arises out of a lawsuit to which the Insured is not a party; and
             2. the Insured has not been engaged to provide advice or testimony in connection with the lawsuit, nor has
                the Insured provided such advice or testimony in the past.
             The Company’s obligation under this provision is subject to a maximum amount of $50,000 per policy period
             for all attorney’s fees and other reasonable costs, expenses, or fees incurred by lawyers appointed by the
             Company, regardless of the number of Insureds involved or the number of subpoenas received. There will
             be no deductible for payments made under this provision and any such payments are in addition to the Limits
             of Liability.




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                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                AMENDED DEFINITION OF DAMAGES

   NAMED INSURED               DC Capital Law

   This endorsement, effective 12:01 A.M.     12/21/2017                  forms a part of Policy No.   WPP1496601-00

   Issued by Wesco Insurance Company.



This endorsement modifies coverage provided under the following:

        LAWYERS PROFESSIONAL LIABILITY POLICY


Section II. DEFINITIONS, H. “Damages”, Item 2 is deleted in its entirety and replaced by the following:

    H. “Damages” means judgments, awards and settlements if negotiated with the assistance and approval of the
       Company. Damages do not include:

        2. Any conversion, misappropriation, improper comingling, defalcation or negligent supervision by any person or
           entity of client or trust account funds or property, or funds or property of any person or entity, including any
           loss or reduction in value of such funds or property, return or replenishment of such funds or property, or the
           gaining of any personal profit or advantage to which the Insured is not legally entitled;




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                                         Am Trust North America

                           Claims and Potential Claims Reporting Procedure



    The Insured, as a condition precedent to the obligations of the Company under this policy, shall give
    written notice to the Company during the policy period:

        1. Of any claim made against the insured during the policy period;
        2. Of the insured’s receipt of any notice, advice or threat, whether written or verbal, that any
            person or organization intends to make claim against the insured;
        3. Any act or omission that may reasonably be expected to be the basis of a claim against the
            Insured.

    Any notice required to be given to the Company will be provided in writing by use of one of the
        following addresses:

           By Telephone:
            1.877.207.3119
           By Mail to:

            c/o AmTrust North America

            Professional Lines Claims Dept.

            135 South LaSalle St., Suite 1925

            Chicago, IL 60603

            Attn: AIU Claim Department

           By Facsimile to:

            (877) 207‐3961

           By email to:

            anaclaimsreporting@amtrustgroup.com
